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    UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK

                                               -X


     UNITED STATES OF AMERICA


                  - against -
                                                        I8-CR-204(S-2)(NOG)
     KEITH RANIERE,
           also known as "Vanguard,
                                                        VERDICT SHEET
           "Grandmaster,"
           and "Master,"

                         Defendant.


                                               -X



                                      AS TO COUNT TWO
                                         Racketeering


   How do you find the defendant?

                                      Guilty   /          Not Guilty



   Ifyou answered "Guilty" as to Count Two, indicate whether thefollowing Racketeering Acts
   were proved beyond a reasonable doubt. Ifyou answered "Not Guilty,"proceed to Count
   One.
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         Racketeering Act 1

                  1A (Conspiracy to Commit Identity Theft - Ashana Chenoa)

                  Proved      */        Not Proved

                  IB rConspiracv to Unlawfullv Possess Identification Document)

                  Proved      y         Not Proved


         Racketeering Act 2 CSexual Exploitation of a Child on November 2. 2005 - Camila)


         Proved       /
                      v           Not Proved

         Racketeering Act 3 TSexual Exploitation of a Child on November 24.2005 - Camila^

         Proved \/                Not Proved
         Racketeering Act 4 TPossession of Child Pornogranhv)

         Proved \/                Not Proved
         Racketeering Act 5

                  5A rConspiracy to Commit Identity ThefP)

                  Proved     v          Not Proved


                  5B (Identity Theft - James Lonerfido')

                  Proved     J
                             i/         Not Proved

                  5C ridentitv Theft - Edgar Bronfman)

                  Proved    /
                            v           Not Proved


         Racketeering Act 6 CConspiracv to Alter Records for Use in an Official Proceeding)

         Proved      / v/         Not Proved

         Racketeering Act 7(Conspiracv to Commit Identity Theft - Marianna")

         Proved       /
                      ^           Not Proved
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          Racketeering Act 8


                 8A ^Trafficking for Labor and Services - Daniela)

                 Proved                Not Proved

                 8B ^Document Servitude - Pamela")

                 Proved \/ Not Proved
          Racketeering Act 9 ^Extortion)

          Proved                Not Proved

          Racketeering Act 10

                   lOA(Sex Trafficking - Nicole)

                 Proved                Not Proved

                   lOB CForced Labor - Nicole^

                 Proved                Not Proved


          Racketeering Act 11 TConspiracv to Commit Identitv Theft - Pamela Cafritz)

          Proved        </      Not Proved


                                      AS TO COUNT ONE
                                     Racketeering Conspiracy


   How do you find the defendant?

                                       Guilty    /
                                                 y        Not Guilty


                                     AS TO COUNT THREE
                                     Forced Labor Conspiracy



    How do you find the defendant?

                                       Guilty      ^
                                                   v      Not Guilty
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                                     AS TO COUNT FOUR
                                     Wire Fraud Conspiracy


    How do you find the defendant?

                                       Guilty ^ Not Guilty
                                      AS TO COUNT FIVE
                                  Sex Trafficking Conspiracy


    How do you find the defendant?                   .

                                       Guilty    ^         Not Guilty
                                       AS TO COUNT SIX
                                     Sex Trafficking of Nicole


    How do you find the defendant?

                                       Guilty   /          Not Guilty

   Ifyoufind the defendant guilty as to Count Six, answer thefollowing questions:

          Do you find that the defendant knew means offorce, fraud or coercion would be used
          to cause one or more persons to engage in one or more commercial sex acts?

                                                Yes i/^           No
                                     AS TO COUNT SEVEN
                               Attempted Sex Trafficking of Jay


   How do you find the defendant?

                                       Guilty   /          Not Guilty




   DATE /         /                                        FOREPERSO
